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                                                                      3


                                       IT IS ORDERED that ECF No. 116
1                                      is GRANTED. IT IS FURTHER
      Jonathan C. Capp, (CA SBN 177585)ORDERED that the Clerk of Court
2     13891 Bassmore Drive             shall detach ECF No. 116-1 and
      San Diego, CA 92129              separately file it on the docket.
3     Tel. 760 231 6498
      Fax. 858 435 2510
4     Email: jcclex@gmail.com
      Attorneys for Plaintiffs
5

6

7
                             UNITED STATES DISTRICT COURT
8
                                  DISTRICT OF NEVADA
9

10

11
      CARLOS ALBERTO RODRIGUES                            Case No.: 2: 18-cv-01522 -JAD-
12    DE FREITAS as the Administrator of                 BNW
      the Estate of Isabel Auler ( deceased),
13
      CARLOS ALBERTO RODRIGUES                       STIPULATION AND [PROPOSED]
14    DE FREITAS an individual.                      ORDER ALLOWING PLAINTIFF TO
15
      .                                              FILE THIRD AMENDED COMPLAINT
                                                     FOR DAMAGES
16
                    Plaintiffs,
17

18           vs.
19
      THE HERTZ CORPORATION, a
20    Delaware corporation, ROBERT
21
      CHARLES STEVENS, an individual,
      and DOES 1- 10 inclusive
22                 Defendants,
23

24

25     STIPULATION AND [PROPOSED]ORDER ALLOWING PLAINTIFF TO FILE
                 THIRD AMENDED COMPLAINT FOR DAMAGES
26

27           WHEREAS on or about October 7, 2021, Plaintiffs (“Plaintiffs”) filed
28    their Second Amended Complaint for damages against Defendants in this action



      Stipulation and Order re. Third Amended        1
      Complaint                                 --
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                                                                      3



1            WHEREAS Plaintiffs seeks to file their Third Amended Complaint for
2
      Damages, which only adds sixth and seventh causes of action for Wrongful Death
3
      (NRS 41.085) based upon the death of former Plaintiff Isabel Auler.
4
             WHEREAS in lieu of Plaintiffs filing a motion to make a motion per, inter
5
      alia, FRCP 15 the parties have agreed to permit Plaintiffs to file a Third Amended
6
      Complaint.
7
      WHEREAS a copy of Plaintiffs proposed Third Amended Complaint for
8
      Damages is attached hereto as Exhibit “A.”
9
             IT IS HEREBY STIPULATED, by and between Plaintiffs and Defendant
10

11
      HERTZ CORPORATION, by and thru their counsel that,

12    1. Plaintiffs should be granted leave to amend to file their Third Amended
13    Complaint for Damages, a copy of which is attached hereto as Exhibit “A.”
14    2. Defendant’s responsive pleading shall be due thirty (14) days after the
15    Second Amended Complaint for Damages is filed.
16    DATED: October 5, 2021.
17
                                                          Jonathan C. Capp
                                       ___/s/_______________________________________
18
                Order                                          JONATHAN C. CAPP ESQ.
19                                                LAW OFFICES OF JONATHAN C. CAPP
      IT IS ORDERED that ECF
20
                                                                      Attorney for Plaintiffs
      No. 116 is GRANTED. IT IS
      FURTHER ORDERED that the
                                                          Kevin Lazar
      Clerk of Court shall detach ECF ___/s/_______________________________________
21

22    No. 116-1 and separately file it      _                        KEVIN LAZAR ESQ.
      on the docket.                             FORD WALKER. HAGGERTY & BEHAR
23                                         Attorney for Defendant HERTZ CORPORATION
            IT IS SO ORDERED

24          DATED: 8:46 am, October 20, 2021



25                                                              James E. Murphy
            BRENDA WEKSLER
            UNITED STATES MAGISTRATE JUDGE     __/s/________________________________________
26                                                                     JAMES E. MURPHY ESQ.
                                                        LEWIS BRISBOIS BISGAARD & SMITH LLP
27

28                                                Attorney for Defendant HERTZ CORPORATION



      Stipulation and Order re. Third Amended           2
      Complaint                                    --
